                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 1 of 25


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                             7   NICK BILTON
                             8

                             9                                  IN THE UNITED STATES DISTRICT COURT
                            10                                 THE NORTHERN DISTRICT OF CALIFORNIA
                            11
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                                                                        OAKLAND DIVISION
                            12   IN RE: TWITTER INC. SECURITIES                     Case No. 4:16-CV-05314-JST (SK)
                                 LITIGATION
                            13                                                      NOTICE OF MOTION AND MOTION
                                                                                    TO QUASH SUBPOENA TO NON-
                            14                                                      PARTY JOURNALIST NICK BILTON
                            15                                                      [Declarations of Nick Bilton and Kelli L.
                                                                                    Sager with Exhibits A-B and [Proposed]
                            16                                                      Order Concurrently Filed]
                            17
                                                                                    Date:     September 17, 2021
                            18                                                      Time:     1:30 PM
                                                                                    Location: Via videoconference
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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 Case No. 4:16-cv-05314-JST (SK)
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 2 of 25


                             1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                             2            PLEASE TAKE NOTICE that on September 17, 2021, at 1:30 PM, or as soon thereafter
                             3   as counsel may be heard, via videoconference (see Dkt. No. 624), non-party journalist Nick
                             4   Bilton will, and hereby does, move this Court for an order quashing the subpoena (the
                             5   “Subpoena”) served on him by plaintiff KBC Asset Management NV, as class representative for
                             6   the Plaintiffs (“Plaintiffs”). The Subpoena seeks to compel Mr. Bilton to testify at the trial in
                             7   this matter in Oakland, California on September 22, 2021.
                             8            As set forth in more detail in the attached Memorandum of Points and Authorities, the
                             9   Subpoena should be quashed under Fed. R. Civ. P. 45(d)(3)(A)(iii) because the testimony
                            10   Plaintiffs are seeking from Mr. Bilton in this matter is subject to the qualified federal reporter’s
                            11   privilege under the First Amendment, which protects against compelled disclosure of
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                            12   information acquired in connection with newsgathering and reporting activities. There is no
                            13   doubt that the information sought from Mr. Bilton by Plaintiffs falls within this privilege; their
                            14   own witness list identifies Mr. Bilton as a “journalist-author” who has reported extensively about
                            15   Twitter, and describes the proposed topics of his testimony as his “[i]nterviews and
                            16   communications while researching or writing about Twitter,” and the “subjects relating to
                            17   Twitter about which the witness has researched or written, including MAU [monthly active
                            18   users], user growth, and user engagement [.]” Dkt. No. 584 (Jt. Pretrial Statement) at 16-17.
                            19   This is quintessential First Amendment activity. See Memorandum, Section IV.A.
                            20            Plaintiffs cannot meet the strict standards for overcoming Mr. Bilton’s constitutional
                            21   protection, which requires them to demonstrate (1) that alternative sources have been exhausted;
                            22   (2) that the information sought would not be cumulative; and (3) that the information sought is
                            23   clearly relevant to an important issue – that is, that their claims rise or fall on the issue. Plaintiffs
                            24   cannot meet any of these requirements, let alone all of them. Among other defects, it is clear that
                            25   Plaintiffs have numerous alternative sources for any information Mr. Bilton might provide; he is
                            26   not a percipient witness, and Plaintiffs’ own trial witness list identifies more than a dozen fact
                            27   witnesses on the topics of Twitter’s alleged manipulation of user growth and engagement data,
                            28   including current and former Twitter employees. Nor can Plaintiffs meet their burden of

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 3 of 25


                             1   demonstrating that any testimony they seek to elicit from him is not cumulative, or that it would
                             2   meet the heightened relevance test required to overcome his First Amendment rights. See
                             3   Memorandum, Section IV.B.1
                             4            Counsel for Mr. Bilton attempted to resolve this matter with Plaintiffs’ counsel, but they
                             5   have declined to withdraw the trial subpoena, making this Motion necessary. See concurrently-
                             6   filed Declaration of Kelli L. Sager ¶ 5. Counsel for the parties and Mr. Bilton agreed on a
                             7   briefing and hearing schedule for this Motion, which the Court subsequently approved. Id.; Dkt.
                             8   No. 624.
                             9            This Motion is based on this Notice, the Memorandum of Points and Authorities, and the
                            10   Declarations of Nick Bilton and Kelli L. Sager with Exhibits A-B, all matters of which this Court
                            11   may take judicial notice, including the files and records in this action, and on such other
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                            12   argument as may be heard by this Court.
                            13   Dated: August 27, 2021                           DAVIS WRIGHT TREMAINE LLP
                                                                                  KELLI L. SAGER
                            14                                                    ERIC M. STAHL
                                                                                  SAM F. CATE-GUMPERT
                            15

                            16                                                    By:             /s/ Kelli L. Sager
                                                                                                      Kelli L. Sager
                            17
                                                                                        Attorneys for Non-Party Journalist
                            18                                                          Nick Bilton

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                                          Mr. Bilton’s state constitutional rights also should be considered; California’s
                            28   Constitution provides an absolute protection against compelling non-party journalists to testify
                                 about unpublished information in civil litigation. See Memorandum, Section IV.C

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                       Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 4 of 25


                             1                                                    TABLE OF CONTENTS
                             2                                                                                                                                          Page
                             3   I.       SUMMARY OF ARGUMENT .......................................................................................... 1
                             4   II.      ISSUES TO BE DECIDED................................................................................................. 3
                             5   III.     FACTUAL STATEMENT .................................................................................................. 3
                             6            A.        Non-Party Journalist And Author Nick Bilton ........................................................ 3
                             7            B.        This Action. ............................................................................................................. 4
                             8            C.        The Trial Subpoena. ................................................................................................ 5
                             9   IV.      PLAINTIFFS CANNOT OVERCOME THIS NON-PARTY JOURNALIST’S
                                          FIRST AMENDMENT RIGHTS........................................................................................ 7
                            10
                                          A.        The First Amendment Journalists’ Privilege Applies To The Testimony
                            11                      Plaintiffs Seek From Mr. Bilton. ............................................................................. 7
DAVIS WRIGHT TREMAINE LLP




                            12            B.        Plaintiffs Cannot Meet Their Burden Of Overcoming Mr. Bilton’s First
                                                    Amendment Rights. ............................................................................................... 11
                            13
                                          C.        California’s State Constitutional Shield Law Is a Special Factor That
                            14                      Weighs Heavily In Favor Of Quashing the Subpoena. ......................................... 16
                            15   V.       CONCLUSION ................................................................................................................. 18
                            16

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                            20

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                            24

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 5 of 25


                             1                                                  TABLE OF AUTHORITIES
                             2                                                                                                                                    Page
                             3   Cases

                             4   Alexander v. F.B.I.,
                                    186 F.R.D. 21 (D.D.C. 1998) .................................................................................................... 9
                             5
                                 In re Application to Quash Subpoena to National Broadcasting Co., Inc.,
                             6       79 F.3d 346 (2d Cir. 1996) ................................................................................................ 14, 15
                             7
                                 Baker v. Goldman Sachs & Co.,
                             8      669 F.3d 105 (2d Cir. 2012) .................................................................................................... 10

                             9   In re Behar,
                                     779 F. Supp. 273 (S.D.N.Y. and C.D. Cal. 1991) ......................................................... 9, 13, 17
                            10
                                 Branzburg v. Hayes,
                            11
DAVIS WRIGHT TREMAINE LLP




                                    408 U.S. 665 (1972) .................................................................................................................. 7
                            12   Bruno & Stillman, Inc. v. Globe Newspaper Co.,
                            13      633 F.2d 583 (1st Cir. 1980) ................................................................................................... 14

                            14   Damiano v. Sony Music Entertainment, Inc.,
                                   168 F.R.D. 485 (D.N.J. 1996) ................................................................................................. 14
                            15
                                 Farr v. Pitchess,
                            16       522 F.2d 464 (9th Cir. 1975) ..................................................................................... 7, 8, 16, 17
                            17   Gonzales v. NBC,
                            18      194 F.3d 29 (2d Cir. 1999) ........................................................................................................ 7

                            19   Harbert v. Priebe,
                                    466 F. Supp. 2d 1214 (N.D. Cal. 2006) .................................................................................. 15
                            20
                                 Hurry v. Fin. Industry Regulatory Auth., Inc.,
                            21      No. 17-MC-80026-LB, 2017 WL 3701955 (N.D. Cal. Apr. 7, 2017) .................................... 11
                            22   Jimenez v. City of Chicago,
                                    733 F. Supp. 2d 1268 (W.D. Wash. 2010) .............................................................................. 15
                            23

                            24   Larez v. City of Los Angeles,
                                    946 F.2d 630 (9th Cir. 1991) ................................................................................................... 11
                            25
                                 Los Angeles Memorial Coliseum Comm’n v. National Football League,
                            26      89 F.R.D. 489 (C.D. Cal. 1981) .............................................................................................. 17
                            27   In re McCray, Richardson, Santana, Wise, & Salaam Litig.,
                                     928 F. Supp. 2d 748, aff’d, 991 F. Supp. 2d 464 (S.D.N.Y. 2013) ......................................... 15
                            28

                                                                        ii
                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 6 of 25


                                 McGarry v. University of San Diego,
                             1     154 Cal. App. 4th 97 (2007) .................................................................................................... 17
                             2
                                 Miller v. Superior Court of San Joaquin Cty.,
                             3      21 Cal. 4th 883 (1999)................................................................................................... 8, 16, 17

                             4   New York Times Co. v. Superior Court,
                                   51 Cal. 3d 453 (1990) ........................................................................................................ 16, 17
                             5
                                 O’Grady v. Superior Court,
                             6      139 Cal. App. 4th 1423 (2006) .................................................................................................. 9
                             7
                                 Planet Aid, Inc. v. Reveal, Ctr. for Investigative Reporting,
                             8      2019 WL 935131 (N.D. Cal. Feb. 26, 2019) ............................................................................. 9

                             9   Re/Max Int’l v, Century 21 Real Estate Corp.,
                                    846 F. Supp. 910 (D. Colo. 1994) ........................................................................................... 15
                            10
                                 Riley v. City of Chester,
                            11       612 F.2d 708 (3d Cir. 1979) .................................................................................................... 12
DAVIS WRIGHT TREMAINE LLP




                            12   Shoen v. Shoen,
                            13      48 F.3d 412 (9th Cir. 1995) .............................................................................................. passim

                            14   Shoen v. Shoen,
                                    5 F.3d 1289 (9th Cir. 1993) .............................................................................................. passim
                            15
                                 In re Slack,
                            16       768 F. Supp. 2d 189 (D.D.C. 2011) .......................................................................................... 9
                            17   United States v. Blanton,
                                    534 F. Supp. 295 (S.D. Fla. 1982)............................................................................................. 9
                            18

                            19   United States v. Burke,
                                    700 F.2d 70 (2d Cir. 1983) ................................................................................................ 13, 15
                            20
                                 United States v. Caporale,
                            21      806 F.2d 1487 (11th Cir. 1986) ............................................................................................... 14
                            22   United States v. Cuthbertson,
                                    630 F.2d 139 (3d Cir. 1980) ................................................................................................ 8, 14
                            23

                            24   United States v. LaRouche Campaign,
                                    841 F.2d 1176 (1st Cir. 1988) ................................................................................................... 8
                            25
                                 United States v. Marcos,
                            26      1990 WL 74521 (S.D.N.Y. 1990) ............................................................................................. 8

                            27   United States v. Reed,
                                    726 F.2d 570 (9th Cir. 1984) ................................................................................................... 14
                            28

                                                                        iii
                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                     Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 7 of 25


                                 Von Bulow v. Von Bulow,
                             1      811 F.2d 136 (2d Cir. 1987) ...................................................................................................... 9
                             2
                                 Zerilli v. Smith,
                             3      656 F.2d 705 (D.C. Cir. 1981) .......................................................................................... 11, 14

                             4   Statutes

                             5   California Evidence Code § 1070 ............................................................................................. 3, 16
                             6   Rules
                             7   Federal Rules of Civil Procedure
                             8      26(a)(2) .................................................................................................................................... 12
                                    45 ......................................................................................................................................... 7, 18
                             9
                                 Federal Rules of Evidence
                            10      402 ........................................................................................................................................... 12
                                    701 ........................................................................................................................................... 12
                            11      702 ........................................................................................................................................... 12
DAVIS WRIGHT TREMAINE LLP




                                    801(d)(2).................................................................................................................................. 15
                            12
                                    805 ........................................................................................................................................... 15
                            13
                                 Constitutional Provisions
                            14
                                 California Constitution Article I § 2(b) ............................................................................... 3, 16, 17
                            15
                                 U.S. Constitution amend. I ..................................................................................................... passim
                            16

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                                                                        iv
                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 8 of 25


                             1                                      I.   SUMMARY OF ARGUMENT
                             2            It has long been recognized that requiring journalists to become witnesses implicates their
                             3   First Amendment rights. As the Ninth Circuit recognized almost three decades ago, compelling
                             4   the disclosure of information from journalists “can constitute a significant intrusion into the
                             5   newsgathering and editorial processes. Like the compelled disclosure of confidential sources, it
                             6   may substantially undercut the public policy favoring the free flow of information.” Shoen v.
                             7   Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993) (“Shoen I”) (quotation omitted). Consequently, the
                             8   Ninth Circuit – along with other courts across the country – has recognized a qualified privilege
                             9   that protects journalists from being compelled to disclose the identities of their sources or other
                            10   unpublished information gathered in the course of their newsgathering work. As the Ninth
                            11   Circuit explained:
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                            12            Rooted in the First Amendment, the privilege is a recognition that society’s
                            13            interest in protecting the integrity of the newsgathering process, and in ensuring
                            14            the free flow of information to the public, is an interest “of sufficient social
                            15            importance to justify some incidental sacrifice of sources of facts needed in the
                            16            administration of justice.”
                            17   Id. at 1292 (citations omitted); see also id. at 1295 (journalist privilege protects against “the
                            18   disadvantage of a journalist appearing to be ... a research tool ... of a private party” and “the
                            19   burden on journalists’ time and resources in responding to subpoenas.”).
                            20            Despite these recognized constitutional principles, and decades of law applying a First
                            21   Amendment-based qualified journalists’ privilege, Plaintiffs in this securities fraud class action
                            22   are demanding that Nick Bilton, a journalist and author who regularly writes and reports about
                            23   the technology business, testify at the September trial in this matter. Plaintiffs are not seeking
                            24   Mr. Bilton’s testimony because he is a percipient witness to any of the Defendants’ alleged acts
                            25   that purport to give rise to Plaintiffs’ claims – he is not – but instead, because he researched and
                            26   authored a news article for Vanity Fair in 2016 that discusses information about Twitter that
                            27   Plaintiffs claim is relevant to their lawsuit. Plaintiffs openly admit that their intent is to question
                            28   Mr. Bilton about his “reporting process” and about his interviews and research in reporting about

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                    Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 9 of 25


                             1   Twitter. See Dkt. No. 523 at 21; Dkt. No. 584 at 16-17. Indeed, Plaintiffs have not identified a
                             2   single topic about which they seek to question Mr. Bilton at trial other than his journalistic work.
                             3   The First Amendment journalists’ privilege unquestionably applies to this Subpoena. See
                             4   Section IV.A, infra.
                             5            Plaintiffs cannot meet their burden of overcoming Mr. Bilton’s First Amendment rights.
                             6   Before a non-party journalist can be compelled to testify about information gathered in the
                             7   course of protected newsgathering, the party seeking the information must show that the
                             8   information is “(1) unavailable despite exhaustion of all reasonable alternative sources;
                             9   (2) noncumulative; and (3) clearly relevant to an important issue in the case.” Shoen v. Shoen,
                            10   48 F.3d 412, 416 (9th Cir. 1995) (“Shoen II”). Plaintiffs cannot satisfy any of these strict
                            11   requirements, let alone all of them.
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                            12            First, Plaintiffs have numerous alternative sources for any information Mr. Bilton might
                            13   provide. Indeed, the key Twitter employees referenced in Mr. Bilton’s 2016 Article are
                            14   identified as trial witnesses in the Plaintiffs’ Joint Pre-trial Statement. Dkt. No. 584. Plaintiffs’
                            15   witness list identifies more than a dozen witnesses that purportedly will testify about Twitter’s
                            16   alleged manipulation of user growth and engagement data, including the company’s internal
                            17   communications and public reporting about this topic during the period at issue. Plaintiffs also
                            18   undoubtedly have engaged in substantial discovery during the course of this lawsuit, which
                            19   would have provided them with internal records from Twitter concerning all of the alleged
                            20   events at issue. In contrast, Mr. Bilton is not a percipient witness to any of the events described
                            21   in the Article, nor have Plaintiffs suggested that he has first-hand information about these topics.
                            22   Thus, Plaintiffs not only have multiple alternative sources of information, but any testimony they
                            23   would seek from Mr. Bilton would be entirely cumulative, at best.2
                            24            Second, Plaintiffs also cannot show that Mr. Bilton’s testimony is highly relevant to their
                            25   case, such that their claims will rise or fall on his testimony; to the contrary, his reporting process
                            26   is entirely irrelevant to any issue in dispute. His First Amendment rights cannot be overcome
                            27            2
                                          Plaintiffs’ own Amended Complaint asserted that the information in Mr. Bilton’s
                            28   Article was corroborated by the accounts of eleven confidential witnesses whose identities were
                                 known to Plaintiffs. Dkt. No. 81 ¶ 78.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 10 of 25


                             1   simply because Plaintiffs hope he might offer testimony that they could use for impeachment, or
                             2   speculate that he might have some other useful information. See Section IV.B, infra.
                             3            In addition, because this matter concerns a California-based journalist, reporting about a
                             4   California company, this Court should consider the important policies reflected in California’s
                             5   Shield Law, which was elevated to California’s state constitution more than forty years ago. See
                             6   Cal. Const. Art. I § 2(b); Cal. Evid. Code § 1070. The California Shield Law bars civil litigants
                             7   from compelling the disclosure of unpublished information or sources from a non-party
                             8   journalist. Although this lawsuit is a federal proceeding, the strong public policy rationale for
                             9   protecting journalists from becoming witnesses for a party is nonetheless instructive to this
                            10   Court’s consideration of the important First Amendment interests at stake. See IV.C, infra.
                            11            For all of these reasons, Mr. Bilton respectfully requests that this Court quash the
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                            12   Subpoena served on him, and release him from any obligation to testify at the trial in this matter.
                            13                                      II.    ISSUES TO BE DECIDED
                            14            1.        Whether Plaintiffs’ subpoena to journalist Nick Bilton seeks testimony protected
                            15   by the qualified First Amendment journalists’ privilege.
                            16            2.        Whether Plaintiffs have met their burden of overcoming the qualified First
                            17   Amendment journalists’ privilege by proving that any admissible testimony Mr. Bilton could
                            18   provide is (a) unavailable despite exhaustion of all reasonable alternative sources; (b) non-
                            19   cumulative; and (c) clearly relevant to an important issue in the case.
                            20                                      III.   FACTUAL STATEMENT
                            21            A.        Non-Party Journalist And Author Nick Bilton
                            22            Nick Bilton is a journalist and author, based in Los Angeles. Declaration of Nick
                            23   (“Bilton Decl.”) ¶ 2. Since 2016, Mr. Bilton has worked as a special correspondent for Vanity
                            24   Fair, which publishes a monthly magazine and website. Id. He also is a contributor to the cable
                            25   business news channel CNBC, and to a podcast co-published by Vanity Fair and Cadence13
                            26   called “Inside the Hive.” Id. Between 2003 and 2016, he worked for the New York Times, most
                            27   recently as a technology reporter and columnist. Mr. Bilton has researched and written on a
                            28   variety of topics as a journalist and author, focusing primarily on technology. Id. He has written

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 11 of 25


                             1   three books, including the New York Times-bestseller “Hatching Twitter: A True Story of
                             2   Money, Power, Friendship, and Betrayal,” published in 2013 (the “Book”), which recounted the
                             3   origins of Twitter and the various power struggles between its founders; the Book was selected
                             4   as “Best Book of the Year” by the Wall Street Journal. Id. In June 2016, Vanity Fair published
                             5   an article written by Mr. Bilton, titled “Twitter Is Betting Everything on Jack Dorsey. Will It
                             6   Work?” (the “Article”).
                             7            Mr. Bilton’s work as a journalist – especially as one who reports on internal corporate
                             8   affairs at large technology companies – depends on his sources understanding that he is
                             9   independent, and not allied with the individuals or businesses he covers. Bilton Decl. ¶ 9. He is
                            10   concerned that if sources view him as a potential investigative tool for private litigants, they will
                            11   be deterred from speaking with him or providing information to him. Id. Mr. Bilton believes
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                            12   that testifying as a witness in this case, for (or against) either side, could impede his ability to
                            13   gather and provide information to the public about matters of significant public concern, and
                            14   could compromise his future reporting about issues in the technology industry that are likely to
                            15   be issues during the trial, as well as about Twitter specifically. Id. He also is concerned that
                            16   identifying sources to whom he had promised confidentiality, or disclosing the source of any
                            17   material provided to him on background, would effectively destroy his ability to get information
                            18   from sources in the future. Id.
                            19            B.        This Action.
                            20            This matter was filed as a securities class action on September 16, 2016. The operative
                            21   consolidated Amended Complaint identifies KBC Asset Management NV as the lead plaintiff,
                            22   and names as defendants Twitter, Inc., its former CEO Richard Costolo, and its former Chief
                            23   Financial Officer Anthony Noto (collectively, “Defendants”). Dkt. No. 81 (“Amended
                            24   Complaint”) ¶¶ 12-15. The Amended Complaint asserts two counts of securities fraud on behalf
                            25   of a class of investors who acquired Twitter common stock between February 5, 2015 and July
                            26   28, 2015 (the “Class Period”). Id. ¶¶ 2, 158, 164-170. Plaintiffs allege that Defendants
                            27   misstated and manipulated its user engagement metrics, including by making false and
                            28   misleading statements concerning Twitter’s Monthly Active Users (“MAU”) and Daily Active

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 12 of 25


                             1   Users (“DAU”), two metrics commonly used to measure user growth on social networks like
                             2   Twitter, in a manner that artificially inflated the price of Twitter stock. Id. ¶¶ 3-8, 124, 134.
                             3            Plaintiffs assert that their fraud allegations are supported by numerous sources, including
                             4   Twitter’s SEC filings, Twitter’s public conference calls and press releases, and “interviews with
                             5   former employees of [Twitter]” conducted by class counsel. Id. ¶¶ 1, 66-77. Among the sources
                             6   chronicled in the 86-page Amended Complaint are the alleged accounts of eleven “Confidential
                             7   Witnesses,” who are described as having direct knowledge supporting Plaintiffs’ claims that
                             8   Twitter manipulated user metrics. See, e.g., id. ¶ 66 (Confidential Witness 1, a senior manager
                             9   on the Growth and Engineering team involved in “projects that were designed to drive MAU
                            10   growth.”); id. ¶ 68 (Confidential Witness 3 with information on so-called “zombie users” who
                            11   allegedly “signed onto Twitter once a month because they were prompted to sign in through an
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                            12   email or other services that require a Twitter login,” thereby raising MAU numbers); id. ¶ 72
                            13   (Confidential Witness 6, who worked in Twitter’s Trust and Safety Department and who
                            14   allegedly had information suggesting Twitter was overreporting engagement metrics).
                            15            Plaintiffs’ Amended Complaint also references the June 2016 Article written by Mr.
                            16   Bilton. Id. ¶ 78. According to Plaintiffs’ Amended Complaint, “The witness accounts and
                            17   information provided by Twitter employees in [the Article] corroborate the accounts of the
                            18   CWs [confidential witnesses] cited herein and further support a strong inference that Defendants
                            19   acted with scienter.” Id. (emphasis added). Plaintiffs focus on a portion of the Article that
                            20   discusses internal Twitter management discussions about user growth in 2015, including
                            21   statements attributed to Defendants Costolo (whom Dorsey replaced as CEO) and Noto, and
                            22   former Twitter communications director Gabriel Stricker. Id. ¶ 78.
                            23            Plaintiffs have listed Mr. Costolo, Mr. Noto and Mr. Stricker as witnesses who “will
                            24   testify” at trial. Dkt. No. 584 (Jt. Pretrial Statement) at 17, 20, 23.
                            25            C.        The Trial Subpoena.
                            26            On July 29, 2021, Plaintiffs served Mr. Bilton with the Subpoena, demanding his
                            27   attendance to testify at the trial in this case on September 22, 2021. Bilton Decl. ¶ 6, Ex. B.
                            28

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 13 of 25


                             1            There is no dispute that Plaintiffs intend to question Mr. Bilton about information he
                             2   obtained in the course of his news reporting. In their witness list, Plaintiffs identify Mr. Bilton is
                             3   a “journalist-author” who authored both the Book and the Article. Dkt. No. 584 (Jt. Pretrial
                             4   Statement) at 16-17. Plaintiffs assert that they intend to question Mr. Bilton specifically about
                             5   his “[i]nterviews and communications while researching or writing about Twitter” and “[t]he
                             6   subjects relating to Twitter about which the witness has researched or written, including
                             7   MAU, user growth, and user engagement.” Id. (emphasis added); see also Dkt. No. 523
                             8   (Plaintiffs’ Opposition to Defendants’ Motions In Limine) at 21 (Plaintiffs intend to question Mr.
                             9   Bilton about his “reporting process and his first-hand interviews and research that led to the
                            10   Article”) (emphasis added).
                            11            Mr. Bilton is not a percipient witness to the alleged conduct at issue here; Plaintiffs do
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                            12   not claim that they are seeking testimony from him because they believe he has any direct
                            13   knowledge or information relevant to any of Plaintiffs’ claims. Any information Mr. Bilton has
                            14   concerning Twitter was gathered in the course of his work as a journalist and author. Bilton
                            15   Decl. ¶¶ 3, 8. In the course of his newsgathering efforts, he obtained information from sources to
                            16   whom he promised confidentiality; he also agreed not to identify particular information as
                            17   coming from a particular source. Bilton Decl. ¶ 4.
                            18            Counsel for Mr. Bilton has conferred with Plaintiffs’ counsel in an attempt to resolve this
                            19   matter, explaining Mr. Bilton’s objections to the Subpoena as seeking information protected
                            20   from compelled disclosure by the recognized journalists’ privilege. Declaration of Kelli L. Sager
                            21   (“Sager Decl.”) ¶ 4. Although Plaintiffs’ counsel stated that they do not intend to ask Mr. Bilton
                            22   about the identity of any confidential sources, they do seek to ask him about whether unnamed
                            23   and unidentified Twitter employees told him about the statements attributed to particular
                            24   individuals in the Article. Sager Decl. ¶ 4. After two conference calls, Plaintiffs’ counsel
                            25   declined to withdraw the Subpoena.3
                            26

                            27            3
                                         Counsel for Mr. Bilton and counsel for the parties subsequently stipulated to a
                            28   shortened briefing time and hearing date, and submitted a stipulation with those dates, which the
                                 Court subsequently approved. Dkt. No. 624.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 14 of 25


                             1        IV.       PLAINTIFFS CANNOT OVERCOME THIS NON-PARTY JOURNALIST’S
                             2                                      FIRST AMENDMENT RIGHTS.
                             3              Because Plaintiffs’ trial subpoena to Mr. Bilton purports to “require[] disclosure of
                             4   privileged or other protected matter,” it must be quashed. Fed. R. Civ. P. 45(d)(3)(A)(iii).
                             5   Plaintiffs seek to force Mr. Bilton to testify about information he gathered entirely in his work as
                             6   a journalist and author, in the course of reporting about Twitter. Bilton Decl. ¶¶ 3, 8, Ex. B; Dkt.
                             7   No. 584 at 16. The information sought from Mr. Bilton squarely falls within the protections of
                             8   the First Amendment-based journalists’ privilege. Because Plaintiffs cannot meet their burden of
                             9   overcome the qualified privilege’s strict requirements, the Subpoena should be quashed.
                            10   A.         The First Amendment Journalists’ Privilege Applies To The Testimony Plaintiffs
                            11              Seek From Mr. Bilton.
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                            12              As the United States Supreme Court recognized almost fifty years ago, “without some
                            13   protection for seeking out the news, freedom of the press could be eviscerated.” Branzburg v.
                            14   Hayes, 408 U.S. 665, 681 (1972). Although the Court in Branzburg found, under the particular
                            15   circumstances presented there, that the reporters could not refuse to testify before a federal grand
                            16   jury about their personal observations about the commission of alleged crimes, a majority of the
                            17   Justices also recognized the need for First Amendment protection. Id. Following the Branzburg
                            18   decision, the Ninth Circuit and other courts interpreted it as endorsing a qualified privilege for
                            19   journalists against compelled disclosure of information acquired in the course of gathering and
                            20   reporting news. See, e.g., Farr v. Pitchess, 522 F.2d 464, 467 (9th Cir. 1975); Shoen I, 5 F.3d at
                            21   1292 & n.5. As the Ninth Circuit has explained, compelling a journalist to become a witness,
                            22   even if the testimony sought does not include confidential sources,4 “harms the press’ ability to
                            23   gather information” and poses the risk that “journalists might well be shunned by persons who
                            24   might otherwise give them information.” Id. at 1295; see also Gonzales v. NBC, 194 F.3d 29, 35
                            25

                            26              4
                                          Here, Mr. Bilton’s reporting does involve promises of confidentiality to his sources.
                                 Bilton Decl. ¶ 4. Although Plaintiffs have claimed they do not intend to seek the identities of his
                            27   confidential sources, they simultaneously have indicated that they do seek to have him identify
                            28   whether the information in his Article came from a certain group of individuals at Twitter. Sager
                                 Decl. ¶ 4.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 15 of 25


                             1   (2d Cir. 1999) (compelled testimony “risk[s] the symbolic harm of making [the reporter] appear
                             2   to be an investigative arm of the judicial system, the government, or private parties.”). To
                             3   protect these vital interests, the Ninth Circuit recognized a “partial First Amendment shield” that
                             4   “protects journalists against compelled disclosure in all judicial proceedings, civil and criminal
                             5   alike.” Shoen I, 5 F.3d at 1292 (quoting Farr, 522 F.2d at 467).
                             6            This qualified privilege shields journalists against the compelled disclosure of both
                             7   confidential and non-confidential information. See Shoen I, 5 F.3d at 1294. As the Ninth Circuit
                             8   has recognized, this protection is necessary because compelling journalists to provide even non-
                             9   confidential information “‘can constitute a significant intrusion into the newsgathering and
                            10   editorial processes. Like the compelled disclosure of confidential sources, it may substantially
                            11   undercut the public policy favoring the free flow of information that is the foundation for the
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                            12   privilege.’” Id., quoting United States v. Cuthbertson, 630 F.2d 139, 147 (3d Cir. 1980). The
                            13   privilege is essential to protect “the vitality of the newsgathering process,” given the “‘lurking
                            14   and subtle threat to journalists and their employers if disclosure of outtakes, notes, and other
                            15   unused information, even if nonconfidential, becomes routine and casually, if not cavalierly,
                            16   compelled.’” Shoen II, 48 F.3d at 416, quoting United States v. LaRouche Campaign, 841 F.2d
                            17   1176, 1182 (1st Cir. 1988). These threats from compelled disclosure include “damaging
                            18   confidential sources’ trust in the press’ capacity to keep secrets and, in a broader sense, by
                            19   converting the press in the public’s mind into an investigative arm of … the courts…. If
                            20   perceived as an adjunct of … the courts, journalists might well be shunned by persons who might
                            21   otherwise give them information without a promise of confidentiality[.].” Shoen I, 5 F.3d at
                            22   1295-96 (citation omitted). See also Miller v. Superior Court of San Joaquin Cty., 21 Cal. 4th
                            23   883, 886 (1999) (noting the threat to press autonomy from subpoenas “is particularly clear in
                            24   light of the press’s unique role in society.… Because journalists not only gather a great deal of
                            25   information, but publicly identify themselves as possessing it, they are especially prone to be
                            26   called upon by litigants seeking to minimize the costs of obtaining needed information.”); United
                            27   States v. Marcos, 1990 WL 74521, at *2 (S.D.N.Y. 1990) (“[m]any doors will be closed to
                            28   reporters who are viewed as investigative resources for litigants”). Consequently, the journalists’

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 16 of 25


                             1   privilege has been found to apply even where a reporter’s testimony “is sought only to
                             2   authenticate or confirm otherwise nonconfidential or public information.” In re Slack, 768 F.
                             3   Supp. 2d 189, 194 (D.D.C. 2011) (“[i]f a reporter’s privilege did not apply to nonconfidential
                             4   information, it would result ‘in a wholesale exposure of press files to litigant scrutiny [and]
                             5   would burden the press with heavy costs of subpoena compliance’”); United States v. Blanton,
                             6   534 F. Supp. 295, 296-297 (S.D. Fla. 1982) (quashing subpoena to reporter seeking verification
                             7   about published statements).
                             8            There is no question that this constitutional protection applies to Mr. Bilton, a journalist
                             9   and author, whom Plaintiffs identified as a witness expressly because of his newsgathering and
                            10   reporting conduct. Dkt. No. 584. As the Ninth Circuit has noted, the First Amendment
                            11   journalists’ privilege applies to individuals, like Mr. Bilton, who engage in newsgathering to
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                            12   disseminate information to the public. See Shoen I, 5 F.3d at 1293 (“the journalist’s privilege is
                            13   designed to protect investigative reporting, regardless of the medium used to report the news to
                            14   the public.”), citing Von Bulow v. Von Bulow, 811 F.2d 136 (2d Cir. 1987) (applying privilege
                            15   to book author). See also O’Grady v. Superior Court, 139 Cal. App. 4th 1423, 1467 (2006) (First
                            16   Amendment privilege applies to all individuals who “gather, select, and prepare, for purposes of
                            17   publication to a mass audience, information about current events of interest and concern to that
                            18   audience.”). Its protections are broadly applied to all manner of information obtained by
                            19   journalists. See, e.g., Planet Aid, Inc. v. Reveal, Ctr. for Investigative Reporting, 2019 WL
                            20   935131, at *2 (N.D. Cal. Feb. 26, 2019) (applying privilege to journalist’s conversation even
                            21   where some of the topics were not intended for publication); Alexander v. F.B.I., 186 F.R.D. 21,
                            22   50 (D.D.C. 1998) (journalist’s shield protected former presidential aide George Stephanopoulos
                            23   from compelled disclosure with respect to his memoir recounting his White House experiences);
                            24   In re Behar, 779 F. Supp. 273, 275-276 (S.D.N.Y. and C.D. Cal. 1991) (quashing Church of
                            25   Scientology’s subpoena to journalist for information used in first-person account of harassment
                            26   by Church attorneys and investigators).
                            27            Plaintiffs’ witness list identifies Mr. Bilton as a “journalist-author” who has written about
                            28   Twitter, and describes his topics of testimony as “[i]interviews and communications while

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 17 of 25


                             1   researching or writing about Twitter” and “[t]he subjects relating to Twitter about which the
                             2   witness has researched or written[.]” Dkt. No. 584, at 16-17; Dkt. No. 523 at 21 (Plaintiffs
                             3   intend to question Mr. Bilton about his “reporting process” for the Article). Mr. Bilton gathered
                             4   information and wrote the Article in his capacity as a special correspondent for Vanity Fair; he
                             5   also has written a book about Twitter; and makes his living gathering and disseminating
                             6   information to the public. Bilton Decl. ¶¶ 2, 3. He has never told anyone, other than those
                             7   involved in his research and writing, the identity of his confidential sources, or disclosed the
                             8   sources of specific statements in his Article, nor has he shared any unpublished information
                             9   outside of his newsgathering and reporting process. In short, there can be no serious dispute that
                            10   Mr. Bilton is protected by the First Amendment journalists’ privilege.
                            11            Although Plaintiffs claim that they do not intend to seek testimony regarding Mr. Bilton’s
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                            12   confidential sources (Sager Decl. ¶ 4), that does not entitle them to call Mr. Bilton as a witness at
                            13   trial; it simply is not possible for them to question him without seeking information that the First
                            14   Amendment protects. As the Second Circuit Court of Appeals explained, in upholding an order
                            15   quashing a subpoena, “even the most basic questions” about a journalist’s work would require
                            16   him to disclose “unpublished details of the newsgathering process.” Baker v. Goldman Sachs &
                            17   Co., 669 F.3d 105, 109-10 (2d Cir. 2012) (applying New York shield statute; rejecting argument
                            18   that subpoenaing party should be allowed to ask “whether the published information … was
                            19   accurately reported”). That is even more true here, give that the very information Plaintiffs
                            20   acknowledge they want from Mr. Bilton involves disclosing sources for particular statements
                            21   that his Article does not identify.
                            22            For example, even foundational questions directed to Mr. Bilton about the Article’s
                            23   reporting of statements purportedly made in an internal Twitter meeting inevitably would seek
                            24   disclosure of information about his sources, along with his “techniques for conducting his
                            25   investigation” – information that the journalists’ privilege squarely protects. Id. Moreover, even
                            26   if Plaintiffs did not ask about the identities of sources, that would not restrict defense counsel
                            27   from doing so. As a Magistrate Judge in this District recognized, in ordering a subpoena to be
                            28   quashed notwithstanding a similar promise from the subpoenaing party, “to mount an effective

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 18 of 25


                             1   defense, [Twitter] would need to cross-examine” Mr. Bilton broadly about his reporting, further
                             2   exposing him to the very burdens the constitutional privilege is meant to prevent. In short, the
                             3   Subpoena must be quashed because the testimony proposed “necessarily call for [Mr. Bilton] to
                             4   reveal [privileged] information.” Hurry v. Fin. Industry Regulatory Auth., Inc., No. 17-MC-
                             5   80026-LB, 2017 WL 3701955, at *1 (N.D. Cal. Apr. 7, 2017) (M.J. Beeler) (granting motion to
                             6   quash deposition subpoena to non-party journalist because “the subpoena appears targeted only
                             7   at privileged information,” despite the subpoenaing party’s promise not to “seek information
                             8   protected by California’s shield law”).5
                             9   B.       Plaintiffs Cannot Meet Their Burden Of Overcoming Mr. Bilton’s First
                            10            Amendment Rights.
                            11            Under controlling Ninth Circuit law, a litigant may not obtain information that falls
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                            12   within the scope of the First Amendment journalists’ privilege absent “a showing that the
                            13   requested material is (1) unavailable despite exhaustion of all reasonable alternative sources;
                            14   (2) noncumulative; and (3) clearly relevant to an important issue in the case.” Shoen II, 48 F.3d
                            15   at 416 (emphases added). Consistent with the constitutional policies underlying the privilege,
                            16   courts apply this test strictly, to “ensure that compelled disclosure is the exception, not the rule.”
                            17   Id. See also Zerilli v. Smith, 656 F.2d 705, 712 (D.C. Cir. 1981) (“if the privilege does not
                            18

                            19

                            20        5
                                       In opposing Twitter’s Motions In Limine to exclude Mr. Bilton’s testimony, Plaintiffs
                            21   relied on Larez v. City of Los Angeles, 946 F.2d 630, 644 (9th Cir. 1991), for the proposition
                                 that it is permissible to allow a non-party reporter’s testimony about quotations appearing in a
                            22   newspaper. See Dkt. No. 523 at 21. That case did not even address – let alone decide – any
                                 issue related to the journalists’ privilege. 946 F.2d at 641. There, the district court admitted
                            23   newspaper articles quoting statements made by Los Angeles Police Chief Daryl Gates at a press
                            24   conference, but found testimony from the reporters who had written those articles to be
                                 “unnecessary.” Id. at 642. The Court of Appeals reversed, finding that Gates’ out-of-court
                            25   statements were hearsay, and that the defendant was prejudiced by the admission of the articles
                                 because he was not able to cross-examine reporters about the statements. Id. at 644. The Circuit
                            26   panel did not discuss whether the reporters could have been compelled to testify without
                                 violating their First Amendment rights. But it does make clear that allowing Plaintiffs to
                            27   question Mr. Bilton should not be permitted at all, if cross-examination would not be available to
                            28   the Defendants – which it would not be here, given Mr. Bilton’s clear First Amendment rights to
                                 protect his confidential sources and other unpublished information.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 19 of 25


                             1   prevail in all but the most exceptional cases, its value will be substantially diminished”).
                             2   Defendants cannot meet their burden as to any of these First Amendment requirements.
                             3            First, Plaintiffs cannot demonstrate that they have exhausted all reasonable alternative
                             4   sources for any relevant and admissible information sought from Mr. Bilton.6 The exhaustion
                             5   requirement is stringent: “compelled disclosure from a journalist must be a last resort after
                             6   pursuit of other opportunities has failed.” Shoen I, 5 F.3d at 1297-98 (emphasis added). The
                             7   subpoenaing party must make a “strong showing” that “there is no other source for the
                             8   information requested.” Riley v. City of Chester, 612 F.2d 708, 716-17 (3d Cir. 1979) (emphasis
                             9   added) (exhaustion requirement cannot be satisfied by “a general assertion of necessity” or
                            10   “conclusory statements”; reversing contempt finding against reporter who refused to identify
                            11   confidential source where there were other available witnesses).
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                            12            To the extent Plaintiffs seek to ask Mr. Bilton about Twitter’s alleged activity regarding
                            13   “MAU, user growth and user engagement” (Dkt. No. 584 at 17), they have many available
                            14   alternative sources. Most obviously, the Twitter executives whose 2015 activities are referenced
                            15   in the Article – individual Defendants Costolo and Noto, and Mr. Stricker – all are available to
                            16   Plaintiffs at trial, and all of them are identified on Plaintiffs’ witness list. Id. at 17, 20, 23.7
                            17   Plaintiffs also list an additional twelve fact witnesses that will testify about Twitter’s internal
                            18   communication and public reporting about MAU, DAU, and user growth and engagement during
                            19   the Class Period, including Twitter’s chief technical officer, the co-head of its Growth Team, its
                            20   president of Global Revenue, a vice president of Finance, and senior vice presidents of
                            21            6
                                           As a threshold matter, Plaintiffs must identify relevant and admissible testimony they
                            22   believe Mr. Bilton has to offer. See Fed. R. Evid. 402; Shoen II, 48 F.3d at 416 (“actual
                                 relevance” required to overcome privilege). Instead, the topics Plaintiffs have identified for Mr.
                            23   Bilton are entirely irrelevant to this case, and cannot possibly suffice to overcome the journalists’
                                 privilege. Plaintiffs want Mr. Bilton to testify about his “reporting process,” and his interviews
                            24   and other research he did as a journalist. Dkt. No. 523 at 21; Dkt. No. 584, at 16-17. These
                                 issues are irrelevant, as Mr. Bilton’s reporting is not the subject of any claim or defense in this
                            25
                                 action. Any testimony Mr. Bilton might offer about statements made by his sources or others
                            26   would be hearsay. See n.9, supra. Any view Mr. Bilton might offer about the significance of his
                                 Article, or of any statement or omission by Defendants, would be inadmissible as undisclosed
                            27   opinion testimony. See Fed. R. Evid. 701, 702; Fed. R. Civ. P. 26(a)(2).
                                          7
                            28             Mr. Costolo and Mr. Noto also are listed as defense trial witnesses, as is Jack Dorsey.
                                 Id. at 24, 25.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 20 of 25


                             1   Engineering and Product. Id. at 15-23. Even in their Amended Complaint, Plaintiffs claimed to
                             2   have information from individuals they described as insiders who worked at Twitter before or
                             3   during the Class Period; Plaintiffs alleged that these individuals (then described as “confidential
                             4   witnesses,” but presumably identified in discovery) all have direct knowledge of information
                             5   related to the alleged manipulation of MAU, reliance on “zombie users,” and other information
                             6   forming the basis for the class claims.8 See Amended Complaint ¶¶ 66-77. Unlike Mr. Bilton,
                             7   all of these witnesses are identified as percipient witnesses to Defendants’ relevant activities, and
                             8   all of them can testify without implicating First Amendment protections against compelled
                             9   disclosure.
                            10            In short, there is no need for Mr. Bilton’s testimony on these topics. See Shoen I, 5 F.3d
                            11   at 1297-98 (privilege barred subpoena where a “patently available other source” exists for the
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                            12   requested information). Plaintiffs have not met the exhaustion requirement.
                            13            Second, Plaintiffs cannot meet their burden of demonstrating that the information sought
                            14   from Mr. Bilton is non-cumulative. “When testimony sought from a reporter would be
                            15   cumulative of other evidence, it cannot be ‘necessary or critical’ to an action so as to override the
                            16   First Amendment privilege.” In re Behar, 779 F. Supp. 273, 275-276 (S.D.N.Y. and C.D. Cal.
                            17   1991). See also United States v. Burke, 700 F.2d 70, 77-78 (2d Cir. 1983) (quashing subpoena
                            18   where information sought “would be merely cumulative and would not defeat [the reporters’]
                            19   First Amendment privilege”). Here, Plaintiffs admit that the information Mr. Bilton reported in
                            20   his Article merely “corroborate[s] the accounts of the [11 confidential witnesses],” cited in the
                            21   Amended Complaint, regarding alleged data manipulation by Twitter. Amended Complaint ¶ 78
                            22   (emphasis added). Given Mr. Bilton’s lack of any first-hand knowledge regarding Twitter’s
                            23   alleged manipulation of or communication about user growth and engagement, Plaintiffs cannot
                            24   identify any information Mr. Bilton has on these topics that would not be cumulative of the
                            25   testimony of the many fact witnesses they have identified, as well as other evidence they
                            26   undoubtedly obtained in discovery about their claims.
                            27            8
                                          Presumably these “confidential witnesses” are among the individuals identified and
                            28   included on Plaintiffs’ witness list; if not, they are additional “alternative sources” with direct
                                 information about the alleged conduct at issue.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 21 of 25


                             1            Third, Plaintiffs cannot show that the information they seek from Mr. Bilton is remotely
                             2   relevant to an “important” trial issue, if it is relevant at all. See n.6, supra. As the Ninth Circuit
                             3   has emphasized, the party seeking to overcome the journalist’s privilege “must [make] a showing
                             4   of actual relevance; a showing of potential relevance will not suffice.” Shoen II, 48 F.3d at 416
                             5   (emphasis added). This constitutional standard is strictly applied. To demonstrate relevance, the
                             6   subpoenaing party must show that the testimony at issue “go[es] to the ‘heart of the matter’” and
                             7   is “crucial to the case.” Zerilli, 656 F.2d at 713. See also Damiano v. Sony Music
                             8   Entertainment, Inc., 168 F.R.D. 485, 497 (D.N.J. 1996) (information sought must relate to a
                             9   “central element” of the case). It is not sufficient that the information simply would be “useful.”
                            10   In re Application to Quash Subpoena to National Broadcasting Co., Inc., 79 F.3d 346, 351 (2d
                            11   Cir. 1996) (applying New York shield law). Instead, there must be a finding that the claim for
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                            12   which the information is to be used “virtually rises or falls” on the admission of the materials.
                            13   Id. Put another way, the party issuing the subpoena to the reporter must show that the
                            14   information sought is “highly relevant” and is “necessary to the proper presentation of the case.”
                            15   United States v. Caporale, 806 F.2d 1487, 1504 (11th Cir. 1986). See also Cuthbertson, 651 F.2d
                            16   at 196 (party seeking information from journalist must show it is “crucial to the claim”).
                            17            Plaintiffs cannot meet this exacting standard. Plaintiffs are not seeking Mr. Bilton’s
                            18   testimony as a percipient witness with any first-hand knowledge about alleged misconduct within
                            19   Twitter; Mr. Bilton has never been employed at Twitter. Bilton Decl. ¶ 8. Instead, Plaintiffs
                            20   subpoenaed Mr. Bilton’s testimony to learn more about his “reporting process,” and to question
                            21   him about his interviews and other research he did as a journalist. Dkt. No. 523 at 21; Dkt. No.
                            22   584, at 16-17. But these issues are not even relevant, much less critical or necessary, to
                            23   Plaintiffs’ claims.
                            24            To the extent that Plaintiffs are hoping to obtain some other unspecified information from
                            25   Mr. Bilton, that speculative desire does not come close to meeting the heightened relevance test
                            26   required by the constitutional reporter’s privilege. See United States v. Reed, 726 F.2d 570, 577
                            27   (9th Cir. 1984) (subpoena cannot function as “a blind fishing expedition seeking unknown
                            28   evidence”); see also Bruno & Stillman, Inc. v. Globe Newspaper Co., 633 F.2d 583, 597 (1st Cir.

                                                                        14
                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 22 of 25


                             1   1980) (federal reporters’ privilege does not permit “fishing expedition”); Harbert v. Priebe, 466
                             2   F. Supp. 2d 1214, 1216 (N.D. Cal. 2006) (subpoena barred where “mere belief” that information
                             3   from newspaper might help case did not meet “clearly relevant” factor).
                             4            Finally, to the extent that Plaintiffs hopes to use Mr. Bilton’s testimony to impeach any of
                             5   Defendants’ witnesses, that too is an insufficient basis for overcoming the reporter’s privilege.
                             6   See In re McCray, Richardson, Santana, Wise, & Salaam Litig., 928 F. Supp. 2d 748, 758, aff’d,
                             7   991 F. Supp. 2d 464 (S.D.N.Y. 2013) (“impeachment material is ordinarily not critical or
                             8   necessary to the maintenance or defense of a claim”) (citing In re Application to Quash
                             9   Subpoena to National Broadcasting Co., Inc., 79 F.3d at 352); see also United States v. Burke,
                            10   700 F.2d 70, 77-78 (2d Cir. 1983) (possibility of gaining cumulative impeachment evidence was
                            11   inadequate to overcome journalist’s First Amendment privilege); Re/Max Int’l v, Century 21
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                            12   Real Estate Corp., 846 F. Supp. 910, 912 (D. Colo. 1994) (rejecting attempt to depose reporter
                            13   where “[t]he only possible value in deposing [the reporter] is to impeach [a witness’s]
                            14   testimony.”); Jimenez v. City of Chicago, 733 F. Supp. 2d 1268, 1273 (W.D. Wash. 2010)
                            15   (quashing subpoena to journalist where the “only explicit relevance claimed (the impeachment of
                            16   a third party) is merely collateral” to underlying lawsuit).9 Accordingly, Mr. Bilton’s testimony
                            17   does not meet the high threshold required to be “clearly relevant to an important issue in the
                            18   case.” Shoen II, 48 F.3d at 416.
                            19            Because Plaintiffs cannot establish any of the requirements for overcoming the privilege,
                            20   let alone all of them, the Subpoena should be quashed.
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                                          9
                            24            Any “impeachment” evidence Plaintiffs might seek to elicit from Mr. Bilton – such as
                                 verifying that an individual actually made a statement attributed to him or her in the Article, for
                            25   example – is likely to be inadmissible. The Article consists entirely of out-of-court statements
                                 and, in some cases, multiple layers of hearsay. Each out-of-court statement would have to fall
                            26   within a hearsay exception to be admissible. See Fed. R. Evid. 805. But Plaintiffs cannot
                                 establish the foundation for any exception (for example, by determining whether Mr. Bilton’s
                            27   source for a particular assertion does or does not qualify as a “party-opponent” under Fed. R.
                            28   Evid. 801(d)(2)) without impermissibly delving into the identities of Mr. Bilton’s confidential
                                 sources, which they have promised not to do. Sager Decl. ¶ 4.

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 23 of 25


                             1   C.       California’s State Constitutional Shield Law Is a Special Factor That Weighs
                             2            Heavily In Favor Of Quashing the Subpoena.
                             3            In addition to the specific requirements established in Shoen II, the Ninth Circuit has
                             4   instructed that in non-grand jury cases, courts must weigh the “First Amendment privilege and
                             5   the opposing need for disclosure … in light of the surrounding facts and a balance struck to
                             6   determine where lies the paramount interest.” Farr v. Pitchess, 522 F.2d 464, 468 (9th Cir.
                             7   1975). In California, that judicial weighing should include consideration of the absolute
                             8   protection that California law provides to journalists. This protection, enshrined in Article I,
                             9   § 2(b) of the state Constitution (“Shield Law”), provides that a “reporter, or other person
                            10   connected with or employed upon a newspaper, magazine, or other periodical publication …
                            11   shall not be adjudged in contempt . . . for refusing to disclose the source of any information
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                            12   procured while so connected or employed … or for refusing to disclose any unpublished
                            13   information obtained or prepared in gathering, receiving or processing of information for
                            14   communication to the public.” Cal. Const., Art. I § 2(b) (emphasis added); see also Cal. Evid.
                            15   Code § 1070 (nearly identical provision). As the California Supreme Court explained, in
                            16   describing both the federal and state protections for reporters:
                            17            A comprehensive reporter’s immunity … has the effect of safeguarding “the
                            18            autonomy of the press.” [¶] The threat to press autonomy [from subpoenas] is
                            19            particularly clear in light of the press’ unique role in society. As the institution
                            20            that gathers and disseminates information, journalists often serve as the eyes and
                            21            ears of the public. Because journalists not only gather a great deal of information,
                            22            but publicly identify themselves as possessing it, they are especially prone to be
                            23            called upon by litigants seeking to minimize the costs of obtaining needed
                            24            information.
                            25   Miller, 21 Cal. 4th at 898 (citations omitted).
                            26            The protection of California’s constitutional shield law is absolute when a party to a state
                            27   civil proceeding seeks to compel testimony from a non-party journalist. E.g., New York Times
                            28   Co. v. Superior Court, 51 Cal. 3d 453, 461 (1990) (Shield Law does not require balancing of

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 24 of 25


                             1   competing interests in civil proceedings where journalist is not party); Miller, 21 Cal. 4th at 890.
                             2   Plaintiffs seek to compel Mr. Bilton, who is not a party to this action, to testify about his
                             3   research, reporting process, interviews, and communications – information that he obtained or
                             4   prepared in gathering, receiving or processing of information for communication to the public,
                             5   which unquestionably falls within the Shield Law’s broad definition of “unpublished
                             6   information.” See Cal. Const., Art. I § 2(b) (“unpublished information” includes “information
                             7   not disseminated to the public,” including but not limited to “all notes … or other data of
                             8   whatever sort not itself disseminated to the public through a medium of communication, whether
                             9   or not published information based upon or related to such materials has been disseminated.”).
                            10   Were this a state civil case, or a federal case involving state-law claims, California’s Shield Law
                            11   would provide absolute protection against compelling Mr. Bilton to testify about his sources or
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                            12   unpublished information. New York Times, 51 Cal. 3d at 461; McGarry v. University of San
                            13   Diego, 154 Cal. App. 4th 97, 120-21 (2007) (Shield Law absolutely protected against compelled
                            14   disclosure from non-party in civil action).
                            15            Even where California’s Constitution is not binding, authorities interpreting and applying
                            16   this important state interest still have persuasive value, given the broad First Amendment-based
                            17   balancing of interests. See Farr, 522 F.2d at 468. As this Court has recognized, “California law
                            18   and federal common law appear to coincide” with respect to the principles underlying the state
                            19   Shield Law and the federal journalists’ privilege. Los Angeles Memorial Coliseum Comm’n v.
                            20   National Football League, 89 F.R.D. 489, 495 (C.D. Cal. 1981). The “broad scope of
                            21   California’s shield law and the fact that it has now been embodied in one of the first articles of
                            22   the state’s constitution reflect a paramount public interest in the maintenance of a vigorous,
                            23   aggressive and independent press capable of participating in robust, unfettered debate over
                            24   controversial matters, an interest which has always been a principal concern of the First
                            25   Amendment.” Id. (quotation omitted). See also In re Behar, 779 F. Supp. at 274 (considering
                            26   policies underlying New York’s “Shield Law” in evaluating subpoena to journalist because
                            27   “[w]hile the federal law of privilege controls, courts have also considered the applicable state
                            28   law in the jurisdiction where the reporter’s deposition was noticed”).

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
                                   Case 4:16-cv-05314-JST Document 630 Filed 09/01/21 Page 25 of 25


                             1            It is especially appropriate for the Court to consider the principles underlying California’s
                             2   Shield Law here, because the Subpoena is directed to a California-based journalist, concerning
                             3   his newsgathering and reporting about a California-based company. Mr. Bilton’s reporting on
                             4   Twitter, and about other large technology companies that influence contemporary life, has
                             5   provided precisely the type of information that the Shield Law is designed to protect. Enforcing
                             6   the Subpoena and compelling him to testify would undermine his ability to function as a
                             7   journalist, and could deter future sources from coming forward, depriving the public of vital
                             8   information about companies that have significant impacts on their daily lives. See Bilton Decl.
                             9   ¶ 9. The Court should quash the Subpoena, to avoid infringing Mr. Bilton’s federal and state
                            10   constitutional rights, and to protect the public interest in valuable news reporting.
                            11                                          V.     CONCLUSION
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                            12            For the reasons set forth above, the Subpoena directed to non-party journalist and author
                            13   Nick Bilton should be quashed, pursuant to F.R.C.P. 45, because it seeks information that is
                            14   protected by the qualified First Amendment journalists’ privilege.
                            15   Dated: August 27, 2021                           DAVIS WRIGHT TREMAINE LLP
                                                                                  KELLI L. SAGER
                            16                                                    ERIC M. STAHL
                                                                                  SAM F. CATE-GUMPERT
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                            18                                                    By:             /s/ Kelli L. Sager
                                                                                                      Kelli L. Sager
                            19
                                                                                        Attorneys for Non-Party Journalist
                            20                                                          Nick Bilton

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                                 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA
                                 4834-6324-1464v.1 3970207-000028
